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Address
UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF KANSAS _
Pe View tte , Plantiff CASE NO.. AD
(Full Nanve) (To be soled by the Cler!
Vv,
Vranas Carre Kegel: , Defendant (s) CIVIL RIGHTS COMPLAINT
PURSUANT TO 42 U.S.C.
§1983
A. JURISDICTION
D Devas ECOL TT ( ,isacitizen of Ac wsaS

 

 

(Plainhifp (State)
who presently resides at_\ St ae niga racy EO
/ (Maiting adliress or place
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of confinement.)

 
  

2) Defendant AL Von c excec\\ Ao L SCCONCES Ride enh ccd OCGA Lise

(Name of first defendant)

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(City, State)

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claim(s) alleged in this complaint arose, was this defendant acting under the color of state
law? Yes PANo [_]. If your answer is “Yes”, briefly explain:
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XE-2 8/82 CIVIL RIGHTS COMPLAINT §1983
3)

4)

Defendant Bah by eet ett r, Fe) a is a citizen of

 

 

 

' (Name af second defendant) 2
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Aecioc , and is employed as
(City, state)
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A (Position and title; if any)

claim (s) alleged in this complaint arose was this defendant acting under the color of state
law? Yes Sx] No[_]. If your answer is “Yes”, briefly explain:
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(Use the back of ‘hiss page to ‘frnish the above information for additional defendants.)

Jurisdiction is invoked pursuant to 28 U.S.C. §1343(3); 42 U.S.C. §1983. (if you wish to

assert jurisdiction under different or additional statutes, you may list them below.)

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B. NATURE OF THE CASE

1) Briefly state the background of your case:

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XE-2 8/82 CIVIL RIGHTS COMPLAINT $1983
C, CAUSE OF ACTION
1) Lallege that the following of my constitutional rights, privileges or immunities have been
violated and that the following facts form the basis for my allegations: (If necessary you
may attach up to two additional pages (8h” x 11”) to explain any allegation or to list
additional supporting facts.)
A) (1) Count: Defer Saks aroted Hae. Plaisinis
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(2) Supporting Facts: (Include all facts you consider important, including names of
persons involved, places and dates. Describe exactly how each defendant is involved.

State the facts clearly in your own words without citing legal authority or argument.):

Please 2ec., Pte lnc é

 

 

 

 

B) (1) Count II:

 

 

 

(2} Supporting Facts:

 

 

 

 

XE-2 8/82 CIVIL RIGHTS COMPLAINT §1983
C) (1) Count IIL:

 

 

 

(2) Supporting Facts:

 

 

 

 

D. PREVIOUS LAWSUITS AND ADMINISTRATIVE RELIEF

1) Have you begun other lawsuits in state or federal court dealing with the same facts

involved in this action or otherwise relating to the conditions of your imprisonment?

Yes Mm No L | . If your answer if “Yes”, describe each lawsuit. (If there is more than

one lawsuit, describe the additional lawsuits on another piece of paper, using the same

outline.)

XE-2 8/82

a)

b)

d)

Parties to previous lawsuit:
Plaintiffs: Tye @Oons } Moy VT
Defendants: ACaMocd. PGA yt Cc. AWer CY. QrLeasdate
Yow clanclin
Name of court and docket number (US Cutbacks Cock Aaa et KoOnssasS
Se |lorC.) esas 9 CIN VALE
Disposition (for example: Was the case dismissed? Was it appealed? Is it still
pending?) SOMMNOCA. Yooduehend: oftudeda’ & ovate te
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Issues raised « W Aoki Ot eve exercise ¢ Va 9?
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CIVIL RIGHTS COMPLAINT §1983
e) Approximate date of filing lawsuit | / 4 + / ey ( OD
f) Approximate date of disposition VA f2 / AAA

1) Ihave previously sought informal or formal relief from the appropriate administrative
officials regarding the acts complained of in Part C Yes ($4 Nol_]. ir your answer is
“Yes”, briefly describe how relief was sought and the results, If you answer is “No”,

briefly explain why administrative relief was not sought.

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2) REQUEST FOR RELIEF

1) Tbelieve that I am entitled to the following relief:

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“De Bors Pe cur 10

Signature of Attorney (if any) Signature of Plaintiff )

 

 

 

(Attorney’s full address and telephone number)

XE-2 8/82 CIVIL RIGHTS COMPLAINT $1983
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